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 6                       IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
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 9   United States of America,                         No. CR-22-01507-001-PHX-SPL
10                 Plaintiff,                          ORDER
11   v.
12   Shane Killian Burns,
13                 Defendant.
14
15          IT IS ORDERED setting Sentencing on Monday, February 5, 2024 at 10:00
16   a.m.

17          IT IS FURTHER ORDERED no more than ten (10) character letters shall be
18   submitted by Defense Counsel in criminal cases, unless otherwise ordered by the Court.

19          IT IS FURTHER ORDERED original letters must be submitted by Defense

20   Counsel in paper form with the original to the U.S. Probation Office and copies to the
21   Court and opposing counsel at least five (5) business days prior to the hearing. Character
22   letters shall not be mailed directly to the Court by any family members or other persons

23   writing in support of the Defendant. Character letters or a notice of such shall not be filed

24   electronically unless otherwise ordered by the Court.

25          IT IS FURTHER ORDERED that any motions for upward departure, downward

26   departure and sentencing memoranda must be filed, at least, seven (7) business days prior
27   to the sentencing date. Responses are due three (3) business days prior to the sentencing
28   date. Any motion to continue sentencing must be filed promptly upon discovery of the
 1   cause for continuance and must state the cause with specificity. Motions to continue
 2   sentencing filed less than fourteen (14) days before sentencing are disfavored.
 3          Dated this 27th day of November, 2023.
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                                                       Honorable Steven P. Logan
 8                                                     United States District Judge

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